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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO: 22-CV-81294-AMC

  DONALD J. TRUMP,

        Plaintiff,

        v.

  UNITED STATES OF AMERICA,

        Defendant.
  _______________________________/

                               PLAINTIFF’S NOTICE OF FILING

         Plaintiff, through the undersigned counsel, hereby files the attached summary of disputes

  (“Plaintiff’s Dispute Log”) in response to the Defendant’s log of disputes (ECF 150). See

  Attachment A. Plaintiff’s Dispute Log was initially filed with the Court on October 21, 2021

  (ECF 153); counsel for Plaintiff resubmits the Plaintiff’s Dispute Log pursuant to the Clerk’s

  instructions at Docket Entry (ECF 155).



                                               Respectfully,
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                                     Counsel for Plaintiff President Donald J. Trump
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 25, 2022, a true and correct copy of the foregoing was filed
  with the Clerk of the Court using the CM/ECF system, which will send electronic notification to
  counsel of record.

                                                 /s/ Lindsey Halligan
                                                Counsel for Donald J. Trump
